Case 3:15-cv-00908-BJD-MCR Document 20 Filed 06/29/16 Page 1 of 2 PageID 77



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

DONNA KATZENBERGER,

        Plaintiff,

-vs-                                              CASE NO.: 3:15-cv-00908-BJD-MCR

TIME WARNER CABLE, INC.,

        Defendant.
                                      /

                              NOTICE OF PENDING SETTLEMENT

       Plaintiff, DONNA KATZENBERGER, by and through her undersigned counsel, hereby

notifies the Court that the parties, Plaintiff, DONNA KATZENBERGER and Defendant, TIME

WARNER CABLE, INC., have reached a settlement with regard to this case, and are presently

drafting, and finalizing the settlement agreement, and general release documents.            Upon

execution of the same, the parties will file the appropriate dismissal documents with the Court.



                                                     /s/ Octavio “Tav” Gomez____________
                                                     OCTAVIO “TAV” GOMEZ, ESQUIRE
                                                     Florida Bar No.: 0338620
                                                     Georgia Bar No.: 617963
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Case 3:15-cv-00908-BJD-MCR Document 20 Filed 06/29/16 Page 2 of 2 PageID 78



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 29th day of June, 2016, the foregoing was filed

electronically in accordance with the Court’s guidelines, using the Court’s CM/ECF system, and

a copy of which was served via electronic mail to all parties of record.



                                                     /s/ Octavio “Tav” Gomez____________
                                                     OCTAVIO “TAV” GOMEZ, ESQUIRE
                                                     Florida Bar No.: 0338620
